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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

EDWARD TURNBULL, IV,                                  §
                                                      §
                Plaintiff,                            §
                                                      §
v.                                                    §                    1:23-CV-314-RP
                                                      §
BOARD OF DIRECTORS OF THE                             §
STATE BAR OF TEXAS, et al.,                           §
                                                      §
                Defendants.                           §

                                                 ORDER

        Before the Court is the report and recommendation of United States Magistrate Judge Mark

Lane concerning Defendants’ 1 Motions to Dismiss, (Dkts. 22, 24, 27, 32, 35, 38, and 46). (R. & R.,

Dkt. 57). Plaintiff timely filed objections to the report and recommendation. (Objs., Dkt. 58). 2 Two

responses to Plaintiff’s objections were also filed, urging the Court to adopt the report and

recommendation. (Dkts. 60, 61).

        A party may serve and file specific, written objections to a magistrate judge’s findings and

recommendations within fourteen days after being served with a copy of the report and

recommendation and, in doing so, secure de novo review by the district court. 28 U.S.C.

§ 636(b)(1)(C). Because Plaintiff timely objected to the report and recommendation, the Court

reviews the report and recommendation de novo. Having done so and for the reasons given in the

report and recommendation, the Court overrules Plaintiff’s objections and adopts the report and

recommendation as its own order.



1 Plaintiff Edward Turnbull, IV (“Plaintiff”) sued the Board of Directors of the State Bar of Texas (“SBOT”),

the Commission for Lawyer Discipline (“CLD”), the Office of the Chief Disciplinary Counsel, and over 50
individuals associated with SBOT and/or the CLD. (Dkt. 20, at ¶¶ 2–18).
2 It appears that Plaintiff inadvertently filed identical objections twice. (Compare Dkt. 58 with Dkt. 59).

Accordingly, the Court considers these identical, and only cites to the first docket entry.

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       Accordingly, the Court ORDERS that the report and recommendation of United States

Magistrate Judge Mark Lane, (Dkt. 57), is ADOPTED.

       IT IS FURTHER ORDERED that Defendants’ Motions to Dismiss, (Dkt. 27, 35, 38, 46),

are GRANTED. Plaintiff’s claims against Defendants are DISMISSED WITHOUT

PREJUDICE for lack of subject matter jurisdiction. The remaining Motions to Dismiss, (Dkt. 22,

24, and 32), are DISMISSED WITHOUT PREJUDICE.

       The Court will enter final judgment by separate order.

       SIGNED on February 27, 2024.




                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE




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